              Case 19-70352-JAD                   Doc 1     Filed 06/11/19 Entered 06/11/19 15:20:32                               Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF PENNSYLVANIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Garrett Limestone Company, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  451 Stoystown Road
                                  Somerset, PA 15501-6927
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Somerset                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.garrettlimestone.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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          Garrett Limestone Company, Inc.
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 2123

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                          Case number
                                                  District                                When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                               Relationship
                                                  District                                When                         Case number, if known




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Debtor
                                                              Document     Page 3 ofCase
                                                                                     13 number (if known)
         Garrett Limestone Company, Inc.
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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                                                                                    13 number (if known)
          Garrett Limestone Company, Inc.
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 11, 2019
                                                  MM / DD / YYYY


                             X   /s/ Gregory A Maust                                                     Gregory A Maust
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Paul J. Cordaro                                                      Date June 11, 2019
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Paul J. Cordaro 85828
                                 Printed name

                                 Campbell & Levine, LLC
                                 Firm name

                                 310 Grant Street, Suite 1700
                                 Pittsburgh, PA 15219
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     412-261-0310                  Email address


                                 85828 PA
                                 Bar number and State




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             ACTION BY UNANIMOUS WRITTEN CONSENT OF THE BOARD 01?
        DIRECTORS IN LIEU OF A SPECIAL MEETING OF THE BOARD OF DIRECTORS

                                            Dated: June 6,2019

        The undersigned, being all of the directors of GARRETT LIMESTONE COMPANY, INC. (the
“Corporation”), a Pennsylvania corporation, hereby adopt and ratif~,’ the following resolutions with the
same force and effect as if adopted and ratified at a duly convened special meeting of the Board of
Directors.

         WHEREAS, the Board of Directors of the Corporation has considered the business and financial
condition and results of operations of the Corporation and has determined that it is in the best interests of
the Corporation to: (a) enter into a management, consulting operations and/or other similar agreement
with Neiswonger Construction, Inc. or any of its affiliates (“Neiswonger”) for purposes of management
and operational support of the Corporation and its operations, and (b) file a voluntary petition in the
United States Bankruptcy Court for the Western District of Pennsylvania pursuant to Chapter 1 of Title
11 of the United States Code (the “Bankruptcy Code”).

NOW THEREFORE, BE IT:

         RESOLVED, that the Authorized Officers shall be, and each hereby is, authorized, empowered,
and directed, on behalf of and in the name of the Corporation, to take all actions necessary or appropriate
for the Corporation to enter into a management, consulting, operations or other similar agreement with
Neiswonger on such terms as may be agreed by any Authorized Officer (the “Management Agreement”),
the execution thereof by such Authorized Officer to be conclusive evidence of such determination, and to
consummate the transaction contemplated thereby; and it is further

         RESOLVED, that the filing by the Corporation of a petition for relief under Chapter Il of Title
11 of the United States Code, in the United States Bankruptcy Court for the Western District of
Pennsylvania is authorized; and it is further

         RESOLVED, that the Gregory A. Maust, President of the Corporation, Angela L. Miller,
Secretary/Treasurer of the Corporation and/or any other Officer of the Corporation (collectively, the
“Authorized Officers”) are hereby authorized, empowered, and directed on behalf of and in the name of
the Corporation to execute, veri1~’, and deliver all documents, including, without limitation, a petition,
schedule of assets and liabilities, statement of financial affairs, and other ancillary documents, necessary
to validly perfect the filing of a Chapter Ii voluntary bankruptcy case; and it is further

         RESOLVED, that the Authorized Officers, acting alone or with one or more Authorized Officers,
are hereby authorized, empowered and directed on behalf of and in the name of the Corporation to appear
in all bankruptcy proceedings on behalf of the Corporation, and to otherwise do and perform all acts and
deeds and to execute, veri~’, and deliver all necessary documents in connection with such bankruptcy
case, with a view to successful prosecution of such bankruptcy case; and it is further

         RESOLVED, that the Authorized Officers shall be, and each hereby is, authorized, empowered,
and directed, on behalf of and in the name of the Corporation, to take all actions necessary or appropriate
for the Corporation to obtain post-petition financing from Neiswonger according to the terms negotiated
by such Authorized Officer, including under one or more debtor-in-possession credit facilities, and to
effectuate the foregoing, to enter into such loan agreements, documents, notes, guaranties, security
agreements, pledge agreements, and all other documents, agreements or instruments (collectively, the
“DIP Credit Documents”) as may be deemed necessary or appropriate by the Authorized Officer, the



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execution thereof by such Authorized Officer to be conclusive evidence of such determination, and to
consummate the transactions contemplated thereby; and it is further

         RESOLVED, that the Corporation be, and it hereby is, authorized, to the extent applicable, to
obtain the use of cash collateral, in such amounts and on such terms as may be agreed by any Authorized
Officer, including the grant of replacement liens, as is reasonably necessary for the continuing conduct of
the affairs of the Corporation; and it is further

         RESOLVED, that the Authorized Officers be, and each hereby is, authorized, empowered, and
directed, with full power of delegation, on behalf of and in the name of the Corporation, to execute, verify
and/or file, cause to be filed and/or executed or verified (or direct others to do so on their behalf as
provided herein), and to amend, supplement, or otherwise modify from time to time, all necessary or
appropriate documents, including, without limitation, petitions, affidavits, schedules, motions, lists,
applications, pleadings, and other documents, agreements, and papers, including all DIP Credit
Documents and a motion to assume and/or operate pursuant to the Management Agreement, and to take
any and all actions that the Authorized Officer deems necessary or appropriate; each in connection with
the Corporation’s bankruptcy case, any post-petition financing, or any cash collateral usage contemplated
hereby; and it is further

        RESOLVED, that the Authorized Officers shall be, and each hereby is, authorized, empowered
and directed on behalf ot and in the name of the Corporation to retain and to employ Campbell &
Levine, LLC to represent the Corporation as general bankruptcy counsel and such other attorneys,
investment bankers, accountants, financial advisors, and other professionals to assist in the Corporation’s
bankruptcy case on such terms as are deemed necessary, proper, or desirable by the Authorized Officers;
and in connection therewith, the Authorized Officers are hereby authorized, directed, and empowered, on
behalf of the Corporation, to execute appropriate retention agreements, pay appropriate retainers and
cause to be filed an appropriate application for authority to retain the services of such professionals in the
Corporation’s bankruptcy ease; and it is further

          RESOLVED, that the Authorized Officers, and any employees or agents (including counsel)
designated by or directed by the Authorized Officers, shall be, and each hereby is, authorized,
empowered, and directed to cause the Corporation and such of its affiliates as management deems
appropriate to enter into, execute, deliver, certify, fire, record, and perform such agreements, instruments,
motions, affidavits, applications for approval, or rulings of governmental or regulatory authorities,
certificates, or other documents, and to take such other actions, as in the judgment of such Authorized
Officer shall be necessary, proper, and desirable to prosecute to a successful completion of the
Corporation’s bankruptcy case, to effectuate the restructuring of the Corporation’s debt, other obligations,
organizational form and structure, and ownership of the Corporation and its subsidiaries consistent with
the foregoing resolutions, and the transactions contemplated by these resolutions, their authority thereunto
to be evidence by the taking of such actions; and it is further

        RESOLVED, that any specific resolutions that may be required to have been adopted by the
board of directors of the Corporation to effectuate the matters and transactions contemplated by the
foregoing resolutions be, and they hereby are, adopted, and the directors, officers, and authorized
representatives of the Corporation be, and each of them acting alone hereby is, authorized in the name and
on behalf ofthe Corporation to certify as to the adoption of any and all such resolutions; and it is further

        RESOLVED, that the Authorized Officers shall be, and each hereby is, authorized, empowered,
and directed on behalf of the Corporation and in its name to take or cause to be taken all actions and to
execute and deliver all such instruments that such Authorized Officer determines are necessary or
desirable in connection with the foregoing resolutions; and it is further


{C1059757,l   }                                   2
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          RESOLVED, that all of the acts and transactions heretofore taken by the officers and directors of
the Corporation or of the Corporation in connection with or otherwise in contemplation of the transactions
contemplated by any of the foregoing resolutions be and they hereby are confirmed, approved and
ratified; and it is further

        RESOLVED, that these Resolutions may be executed in one or more counterparts, each of which
will be deemed an original document, but all of which will constitute one and the same instrument; and
one or more of such counterparts may be delivered via facsimile transmission, electronic mail or
electronic signature in “portable document format” (“.pdf”) form, or by any other electronic transmission
which shall have the same legal force and effect as an original counterpart hereof and shall be placed with
the Corporation’s records.

                                        [Signature Page Follows]




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                WHEREFORE, the undersigned have duly affixed his signature on the date first indicated above.




                 VA.     AUST                                  SCOTT B. FIEG



  PATSY M’4E MAtJST                                            ANGELA L, MILLER



      •            .WALH




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        WHEREFORE, the undersigned h~ivc duty affixed ins signature on the date first rndtcated above.




   GREGORY A. MAUST                                    scorr F.   flEc;



   PATSY MAE MAUST                                     ANG     A L MILLER



   MEGAN II. WALSH




                                               4
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 Fill in this information to identify the case:
 Debtor name Garrett Limestone Company, Inc.
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                          Check if this is an
                                                PENNSYLVANIA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Glenn O. Hawbaker,                                                                                                                                                     $420,000.00
 Inc.
 1952 Waddle Rd.
 Suite 203
 State College, PA
 16803
 New Enterprise                                                                                                                                                         $360,347.92
 Stone & Lime
 3912 Brumbaugh
 Rd.
 New Enterprise, PA
 16664
 William Blackburn,                                                                                                                                                     $349,074.34
 Sr.
 1200 Lake Shore
 Road
 Friedens, PA 15541
 Donald W. & Ann M.                                                                                                                                                     $240,000.00
 Cochran
 746 WIlson Drive
 Berlin, PA 15530
 Dan Hawbaker                                                                                                                                                           $200,000.00
 1952 Waddle Road
 State College, PA
 16803
 Eric D. and Alisa M.                                                                                                                                                   $180,000.00
 Murphy
 192 Johnson Road
 Somerset, PA 15501
 William R.                                                                                                                                                             $149,603.29
 Blackburn, Jr.
 1200 Lake Shore
 Road
 Friedens, PA 15541
 Luther P. Miller                                                                                                                                                       $138,206.96
 PO Box 714
 Somerset, PA 15501


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Garrett Limestone Company, Inc.                                                                    Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 John Jones                                                                                                                                                             $132,000.00
 494 Harvest Dr.
 Rockwood, PA
 15557
 Mosholder                                                       Insurance                                                                                                $56,601.00
 Insurance
 Agency-Insurance
 135 W. Main St.
 Somerset, PA 15501
 Meade M. Meyers, II                                                                                                                                                      $44,900.72
 2507 Turkeyfoot
 Trail Road
 Rockwood, PA
 15557
 Jess W. Granville                                                                                                                                                        $43,265.89
 2129 Tyrone Pike
 Philipsburg, PA
 16866
 Angela L. Miller                                                                                                                                                         $41,900.72
 105 Pikeview Drive
 Somerset, PA 15501
 CAT Commerical                                                                                                                                                           $32,033.01
 Revolving Card
 P.O. Box 643
 Sioux Falls, SD
 57117-6403
 Krause Electric &                                               Trade creditor                                                                                           $29,502.15
 Refrigeration Inc.
 122 Raceland Road
 Somerset, PA 15501
 North Star                                                      Trade creditor                                                                                           $22,308.15
 Equipment LLC
 213 Trading Post
 Road
 Stoystown, PA
 15563
 Rudd Equipment                                                  Trade creditor                                                                                           $16,071.76
 Company
 Dept. 77432
 PO Box 77000
 Detroit, MI
 48277-0432
 Fike Cascio &                                                   Trade creditor                                                                                           $13,492.00
 Boose
 124 North Center
 Ave
 PO Box 431
 Somerset, PA
 15501-0431




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Garrett Limestone Company, Inc.                                                                    Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Musser Engineering                                              Trade creditor                                                                                           $13,294.56
 Inc.
 7785 Lincoln Hwy
 Central City, PA
 15926-8032
 Pittsburgh Tire                                                 Trade creditor                                                                                           $10,789.51
 3301 Smallman
 Street
 Pittsburgh, PA
 15201




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                               United States Bankruptcy Court
                                                                     Western District of Pennsylvania
 In re      Garrett Limestone Company, Inc.                                                               Case No.
                                                                                    Debtor(s)             Chapter     11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Garrett Limestone Company, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 June 11, 2019                                                          /s/ Paul J. Cordaro
 Date                                                                   Paul J. Cordaro 85828
                                                                        Signature of Attorney or Litigant
                                                                        Counsel for Garrett Limestone Company, Inc.
                                                                        Campbell & Levine, LLC
                                                                        310 Grant Street, Suite 1700
                                                                        Pittsburgh, PA 15219
                                                                        412-261-0310 Fax:412-261-5066




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